Case 2:13-cr-20037-PKH   Document 376   Filed 05/29/14   Page 1 of 6 PageID #: 1781
Case 2:13-cr-20037-PKH   Document 376   Filed 05/29/14   Page 2 of 6 PageID #: 1782
Case 2:13-cr-20037-PKH   Document 376   Filed 05/29/14   Page 3 of 6 PageID #: 1783
Case 2:13-cr-20037-PKH   Document 376   Filed 05/29/14   Page 4 of 6 PageID #: 1784
Case 2:13-cr-20037-PKH   Document 376   Filed 05/29/14   Page 5 of 6 PageID #: 1785
Case 2:13-cr-20037-PKH   Document 376   Filed 05/29/14   Page 6 of 6 PageID #: 1786
